                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 ZANDER GROUP HOLDINGS, INC.,
 ET AL,
                                                   Case No. 3:18-cv-0653
         Plaintiffs,
                                                   Chief Judge Crenshaw
 v.                                                Magistrate Judge Newbern

 KATZ, SAPPER & MILLER LLP, ET AL.,

         Defendants.


                                             ORDER

        On September 17, 2018, Defendants filed a motion to dismiss for failure to state a claim.

(Doc. No. 16.) Pursuant to Local Rule 7.01(a)(3), any response is to be filed within 14 days after

service of the motion. M.D. Tenn. R. 7.01(a)(3) (response). A reply memorandum not to exceed

five pages may be filed within 7 days after service of the response. Id. § 7.01(a)(4) (reply).

        Any filings made related to the motion to dismiss, including motions for extensions of time

or to exceed page limits, shall be decided by Judge Crenshaw unless referred to the undersigned

magistrate judge.

        It is so ORDERED.



                                                      ____________________________________
                                                      ALISTAIR E. NEWBERN
                                                      United States Magistrate Judge




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